     Case: 4:05-cr-00095-SA-DAS Doc #: 793 Filed: 07/19/06 1 of 1 PageID #: 2267




                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                              GREENVILLE DIVISION


UNITED STATES OF AMERICA


VERSUS                                                    CRIMINAL ACTION NO. 4:05CR95


TORIS JACKSON


                                             ORDER

       This cause is before the Court on defendant Jackson’s Motion for Joinder in Motion for Intra-

District Transfer [749]. The Court, having reviewed the motion and being otherwise fully advised

in the premises, finds as follows, to-wit:

       That the motion is well-taken and should be granted.

       IT IS, THEREFORE, ORDERED AND ADJUDGED that defendant Jackson’s Motion for

Joinder in Motion for Intra-District Transfer [749] is well-taken and should be, and hereby is,

GRANTED.

       SO ORDERED, this the 19th day of July, 2006.


                                                     /s/ W. Allen Pepper, Jr.
                                                     W. ALLEN PEPPER, JR.
                                                     UNITED STATES DISTRICT JUDGE
